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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig         *          MDL 2:10-MD-02179
DEEPWATER HORIZON in the                *
GULF OF MEXICO on                       *
APRIL 20, 2010                          *
                                        *          SECTION “J”
                                        *          JUDGE CARL J. BARBIER
RELATED TO                              *
                                        *          MAG. 1
This Document Relates to: 2:11-cv-01051 *
GUY J. ADAMS, ET AL.                    *
                                        *          CIVIL JURY CASE
____________________________________*


        NOTICE OF SUBMISSION OF MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that JMN Specialties, Inc. has filed a Motion for Summary

Judgment in the above referenced matter.

       Unless otherwise ordered by the Court, pursuant to Local Rule 7.2, JMN Specialties,

Inc.’s motion will be submitted to the Honorable Carl J. Barbier, United States District Judge,

Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130 on the 15th day

of February, 2012 at 9:00 o’clock a.m.

                                           Respectfully submitted:

                                           BLUE WILLIAMS, L.L.P.

                                           s/ JOHN C. HENRY
                                           ________________________________________
                                           THOMAS G. BUCK T.A.             Bar No. 14107
                                           JOHN C. HENRY                   Bar No. 18948
                                           BRETT W. TWEEDEL                 Bar No. 30100
                                           DAVID B. PARNELL, JR.           Bar No. 27031
                                           3421 North Causeway Boulevard, Suite 900
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                                           JCH Direct Facsimile (504) 849-3026
                                           Attorneys for JMN Specialties, Inc.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the above and foregoing NOTICE OF SUBMISSION OF

MOTION FOR SUMMARY JUDGMENT has been served on All Counsel by electronically

uploading the same to LexisNexis File & Serve in accordance with Pre-Trial Order No. 12, and

that the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using CM/ECF System, which will send a notice

of electronic filing in accordance with the procedures established in MDL 2179, on this 16th day

of January, 2012.

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                                            JOHN C. HENRY
                                            __________________________________________
                                            JOHN C. HENRY




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